            CaseApplication
   AO 106A (08/18) 5:21-mj-00380-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    05/28/21
                                                                                    Means             Page
                                                                                          (USAO Rev. 12/20)   1 of 23 Page ID #:1


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                                         Districtofof
                                                                                    California

                     In the Matter of the Search of                           )
             (Briefly describe the property to be searched or identify the    )
                             person by name and address)                      )      Case No. 5:21-MJ-00380
                                                                              )
                                                                              )
       Three USPS Priority Mail Express parcels seized on                     )
        May 25, 2021 and May 27, 2021, and currently in                       )
        the custody of the United States Postal Inspection                    )
              Service in San Bernardino, California

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                       property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
              Code Section                                                              Offense Description
          21 U.S.C. §§ 841(a)(1); and 843(b)                                            See attached affidavit


             The application is based on these facts:
                   See attached Affidavit
                     Continued on the attached sheet.



                                                                                                     Applicant’s signature

                                                                                                 USPI Anthony H. Jacobs
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                     Judge’s signature

City and state: Riverside, CA                                                       Honorable Sheri Pym, U.S. Magistrate Judge
                                                                                                     Printed name and title

AUSA: Christian Acevedo x6922
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 2 of 23 Page ID #:2



                               AFFIDAVIT

      I, Anthony Herrera Jacobs, being duly sworn, declare and

state as follows:

                       I. PURPOSE OF AFFIDAVIT

      1.   This affidavit is made in support of an application

for a search warrant for three United States Postal Service

(“USPS”) Priority Mail Express parcels currently in the custody

of the United States Postal Inspection Service (“USPIS”), as

described more fully in Attachment A (“SUBJECT PARCEL 1,”

“SUBJECT PARCEL 2,” and “SUBJECT PARCEL 3,” collectively, the

“SUBJECT PARCELS”).    The requested search warrant seeks

authorization to seize evidence, fruits, and instrumentalities

of violations of 21 U.S.C. §§ 841(a)(1) (Distribution and

Possession with Intent to Distribute a Controlled Substance) and

843(b) (Unlawful Use of a Communication Facility, Including the

Mails, to Facilitate the Distribution of a Controlled Substance)

(the “SUBJECT OFFENSES”), as described more fully in Attachment

B.   Attachments A and B are incorporated by reference herein.

      2.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 3 of 23 Page ID #:3



                           II. INTRODUCTION

     3.     I am a Postal Inspector with the USPIS and have been

since August 2003.    I am currently assigned to the USPIS Los

Angeles Division, San Bernardino Domicile, Prohibited Mailing

Narcotics Team and Parcel Task Force, which is responsible for

investigating drug trafficking organizations that use parcels to

transport and distribute illegal drugs and/or drug-sale

proceeds.

     4.     As part of my training to become a Postal Inspector, I

completed a twelve-week Postal Inspector basic training course,

which included training on how to investigate narcotics

trafficking via the United States mail.       I also completed an

advanced training course specifically designed for training

investigators of narcotics mailers and shippers.         Furthermore,

as part of my law enforcement duties, I have conducted numerous

parcel investigations that have resulted in the arrest of

individuals who have received and distributed controlled

substances, as well as the seizure of illegal drugs and proceeds

from the sale of illegal drugs.

     5.     I have completed thousands of hours of criminal

investigations, including compiling information; interviewing

victims, witnesses, and suspects; and collecting evidence to

support criminal complaints.      I have worked with other

experienced state and federal law enforcement officers and

supervisors and have gained knowledge and experience from them.

My work has involved preparing and assisting in the drafting and

service of numerous search warrants.       I have testified in



                                    2
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 4 of 23 Page ID #:4



federal court and state superior court concerning both

misdemeanor and felony offenses.        I received training in the

investigation of drug trafficking activities that use USPS mail.

As part of my law enforcement duties, I have conducted and

assisted several parcel investigations that have resulted in the

arrest of individuals who have received and distributed illegal

drugs, as well as the seizure of illegal drugs and drug-sale

proceeds.

                  III. STATEMENT OF PROBABLE CAUSE
     A.     Background, Training, and Experience Regarding the
            Target Offenses

     6.     Based on my training and experience as a Postal

Inspector, and the experiences related to me by fellow Postal

Inspectors who specialize in drug investigations, I know the

following:

            a.   Postal Inspectors have been conducting

investigations of drug trafficking via USPS Express Mail and

Priority Mail since the mid-1980s.        In the early 1990s, Postal

Inspectors in Los Angeles, California, and surrounding regions

such as the High Desert/Low Desert areas that includes Riverside

and San Bernardino Counties, began conducting organized

interdictions of Priority Mail Express and Priority Mail parcels

suspected of containing controlled substances and proceeds from

the sale of controlled substances.        Postal Inspectors also

regularly examined and investigated Priority Mail Express and

Priority Mail parcels.     During the 1990s, Postal Inspectors

observed that the trend was for drug traffickers to send




                                    3
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 5 of 23 Page ID #:5



controlled substances and proceeds from the sale of controlled

substances, in the form of cash, using boxes.

          b.    Although Postal Inspectors still see the use of

boxes for controlled substances and cash, there has been a

gradual change over the years toward the current trend of using

smaller boxes, flat cardboard envelopes, and Tyvek envelopes,

with proceeds from the sale of controlled substances converted

to money orders.    By using money orders, drug traffickers are

able to send large dollar amounts in compact form, using much

smaller conveyances, which lend a sense of legitimacy to the

parcel.

          c.    The San Bernardino County and Riverside County

areas (collectively, the “Inland Empire”) are a significant

source area for controlled substances.       Controlled substances

are frequently transported from the Inland Empire area via the

United States Mail, and the proceeds from the sale of controlled

substances are frequently returned to the Inland Empire area via

the United States Mail.     These proceeds are generally in the

form of money orders, bank checks, or similar monetary

instruments in an amount over $1,000.       Based on my training and

experience, I know that proceeds from the sale of controlled

substances often contain the odor of controlled substances

because they have been contaminated with or associated with the

odor of one or more controlled substances.

          d.    Drug traffickers often use one of two USPS

services: Priority Mail Express, which is the USPS

overnight/next day delivery mail product, or Priority Mail



                                    4
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 6 of 23 Page ID #:6



Service, which is the USPS two-to-three-day delivery mail

product.    Drug traffickers use the Priority Mail Express

delivery service because of its speed, reliability, and the

ability to track the article’s progress to the intended delivery

point.    Drug traffickers use the Priority Mail delivery service

because it allows drug traffickers more time for travel between

states if they decide to follow a shipment to its destination

for distribution.    Also, by adding delivery confirmation to a

Priority Mail parcel, drug traffickers have the ability to track

the article’s progress to the intended delivery point, as if the

parcel had been mailed using the Priority Mail Express Service.

     7.     Based on my training and experience, and the

collective experiences related to me by fellow Postal Inspectors

who specialize in investigations involving the mailing of

controlled substances and proceeds from the sale of controlled

substances, I know that the following indicia suggest that a

parcel may contain drugs or drug trafficking proceeds:

            a.   The parcel is contained in a box, flat cardboard

mailer, or Tyvek envelope;

            b.   The parcel bears a handwritten label, whether

USPS Express Mail or Priority Mail;

            c.   The handwritten label on the parcel does not

contain a business account number;

            d.   The seams of the parcel are all taped or glued

shut;




                                    5
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 7 of 23 Page ID #:7



            e.   The parcel emits a particular odor of a cleaning

agent or adhesive or spray foam that can be detected by a human;

and

            f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations.

      8.    Parcels exhibiting some of these characteristics are

the subject of further investigation, which may include

verification of the addressee and return addresses and

examination by a trained drug detection dog.

      9.    I know from my experience and training that drug

traffickers often use fictitious or incomplete names and/or

addresses in an effort to conceal their identities from law

enforcement officers investigating these types of cases.

Indeed, it is my experience that to the extent real addresses

are ever used it is only to lend a legitimate appearance to the

parcel and is almost always paired with a false name.

      B.    Initial Investigation of the SUBJECT PARCELS

      10.   Between September 2020 and December 2020, a young male

suspect, later identified as Shahil Ammar RIZVI (“RIZVI”),

entered a USPS facility in Riverside, California multiple times

and shipped a total of nine USPS Priority Mail Express parcels

which I intercepted and opened pursuant to federal search

warrants.    The parcels contained an approximate total of over

1,000 grams of cocaine, 200 grams of pills containing

methamphetamine, approximately 400 tablets of clonazolam (a

synthetic designer drug not currently recognized as a controlled

substance), and 200 pills containing MDMA (ecstasy).



                                    6
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 8 of 23 Page ID #:8



     11.   Between September 2020 and May 27, 2021, I learned

through surveillance and subsequent investigation that RIZVI is

a resident of Riverside, California and has been employed at a

local smoke shop called Rodeo Smoke Shop and Glass Gallery,

located on Massachusetts Avenue in Riverside, California.

     12.   On May 25, 2021, I learned through surveillance video

that RIZVI entered a USPS facility located at 3681 Sunnyside

Drive in Riverside, California and mailed SUBJECT PARCELS 1 and

2.   I also learned from USPS employees that on May 25, 2021, the

two parcels had been taken the USPS processing plant in San

Bernardino, California for shipment.

     13.   On May 25, 2021, I arrived at a USPS processing plant

in San Bernardino, California to examine SUBJECT PARCELS 1 and

2.   Upon further inspection, I saw that SUBJECT PARCELS 1 and 2

met some of the above-mentioned criteria for the identification

of suspicious parcels.     Specifically, SUBJECT PARCELS 1 and 2

were mailed Priority Mail Express, had handwritten labels, and

did not contain business account numbers.

     14.   On May 27, 2021, I learned through surveillance video

that RIZVI entered the USPS facility located at 3681 Sunnyside

Drive in Riverside, California and mailed SUBJECT PARCEL 3.           I

also learned from USPS employees that on May 27, 2021, the

parcel had been taken the USPS processing plant in San

Bernardino, California for shipment.

     15.   On May 27, 2021, I arrived at a USPS processing plant

in San Bernardino, California to examine SUBJECT PARCEL 3.           Upon

further inspection, I saw that SUBJECT PARCEL 3 met some of the



                                    7
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 9 of 23 Page ID #:9



above-mentioned criteria for the identification of suspicious

parcels.   Specifically, SUBJECT PARCEL 3 was mailed Priority

Mail Express, had handwritten labels, and did not contain

business account numbers.

     16.   I used a database known as CLEAR 1 and other open source

databases to check the return and recipient addresses listed on

the SUBJECT PARCELS.     Based on my review of the CLEAR database

and my personal examination of the SUBJECT PARCELS, I determined

the following: 2

           a.      SUBJECT PARCEL 1 is a white Priority Mail Express

box with a USPS Priority Mail Express label, handwritten in

black ink, with tracking number EJ769999603US, weighing

approximately 9.9 ounces, postmarked on May 25, 2021 in

Riverside, California from postal code 92506 with a postage

amount of $46.15. The return address listed on SUBJECT PARCEL 1

is “R.D. Gallery 1330 Massachusetts Ave Riverside, ca 92507.”

When I researched this return address, I learned that the

address was associated with a business called “Rodeo Smoke Shop

and Glass Gallery.”     This is the same business which I believe

RIZVI is currently employed with.       The recipient address listed

on SUBJECT PARCEL 1 is “Jimmy Montes 1382 candlewyck Drive

Orlando, FL 32807.”     I was able to locate a “Jimmy Montes” in

the CLEAR database associated with that address.         Records also


     1
       CLEAR is a public information database used by law enforcement
that provides names, addresses, telephone numbers, and other
identifying information.
     2
       Misspellings and grammatical errors in addresses set forth in
this affidavit are as they appear on the labels of the SUBJECT
PARCELS.


                                    8
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 10 of 23 Page ID #:10



show that Jimmy Montes was arrested in Florida in 2018 for

possession of cannabis and drug paraphernalia.

            b.    SUBJECT PARCEL 2 is a USPS Priority Mail Express

parcel bearing tracking label number EJ769999594US, weighing

approximately 5 ounces, postmarked on May 25, 2021 in Riverside,

California from postal code 92506 with a postage amount of

$26.35.     The return address listed for SUBJECT PARCEL 2 is

identical to that of SUBJECT PARCEL 1. The recipient address for

SUBJECT PARCEL 2 is “Scott Land 822 N. Juanita Ave. Redondo

Beach, Ca 90277.”     An open source search located the recipient

address for SUBJECT PARCEL 2 and was able to connect it to a

person named Scott Land in Newport Beach, California, a

different city than the destination address listed.

            c.    SUBJECT PARCEL 3 is a USPS Priority Mail Express

parcel bearing tracking label number EJ769999625US, weighing

approximately 8 ounces.      The return address listed for SUBJECT

PARCEL 3 is “Shezi Rahil 14242 Crystal View Terr. Riverside, ca

92508.”     When I researched this address, I was unable to connect

it to any person with the name “Shezi Rahil.”         The recipient

address for SUBJECT PARCEL 3 is “Jenah Moh- T Star fashion Store

2586 Steinway st. Astoria, NY 11103.”        When I researched this

address, I was able to connect it to a business called “T-Star

Fashion,” but could not associate the address with anyone with

the name “Jenah Moh.”

      C.    Drug-Detection Dogs Alert to the SUBJECT PARCELS

      17.   On May 26, 2021, based on the suspicious

characteristics of SUBJECT PARCELS 1 and 2, San Bernardino



                                     9
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 11 of 23 Page ID #:11



County Sheriff’s Deputy Kristina Winegar had her trained

narcotics-detection K-9 dog, “Roxy,” examine the exterior of

SUBJECT PARCELS 1 and 2.      Attached hereto as Exhibit 1, and

incorporated herein by reference, is a true and correct copy of

information provided to me by Deputy Winegar regarding Roxy’s

training and history in detecting controlled substances.

      18.   Deputy Winegar placed SUBJECT PARCELS 1 and 2 in an

area with other parcels to perform a K-9 sniff with “Roxy.”

Deputy Winegar told me, as Postal Inspector Brad Barnes also

observed, that “Roxy” gave a positive alert to the SUBJECT

PARCELS, indicating the presence of controlled substances or

other related items, such as the proceeds of controlled

substances, which have been recently contaminated with the odor

of controlled substances.

      19.   On May 27, 2021, based on the suspicious

characteristics of SUBJECT PARCEL 3, Beaumont Police Department

Corporal Ryan L. Brieda had his trained narcotics-detection K-9

dog, “Mila,” examine the exterior of SUBJECT PARCEL 3.           Attached

hereto as Exhibit 2, and incorporated herein by reference, is a

true and correct copy of information provided to me by Corporal

Brieda regarding Mila’s training and history in detecting

controlled substances.

      20.   Corporal Brieda placed SUBJECT PARCEL 3 in an area

with other parcels to perform a K-9 sniff with “Mila.”           Corporal

Brieda told me, as I observed, that “Mila” gave a positive alert

to SUBJECT PARCEL 3, indicating the presence of controlled

substances or other related items, such as the proceeds of



                                    10
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 12 of 23 Page ID #:12



controlled substances, which have been recently contaminated

with the odor of controlled substances.

                              IV. CONCLUSION

      21.   For the reasons set forth above, there is probable

cause to believe that the SUBJECT PARCELS, as described in

Attachment A, contain evidence, fruits, and instrumentalities of

violations of the SUBJECT OFFENSES described in Attachment B.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of May
2021.



HONORABLE SHERI PYM
UNITED STATES MAGISTRATE JUDGE




                                    11
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 13 of 23 Page ID #:13



                               ATTACHMENT A

PARCELS TO BE SEARCHED

1.    The following USPS Priority Mail Express parcels seized on

May 25, 2021 from the San Bernardino Processing and Distribution

Plant located at 1900 W Redlands Blvd, in Redlands, California

92423, and currently in the custody of the United States Postal

Inspection Service in San Bernardino, California:

            a.   SUBJECT PARCEL 1 is a white Priority Mail Express

box with a USPS Priority Mail Express label, handwritten in

black ink, with tracking number EJ769999603US, weighing

approximately 9.9 ounces, postmarked on May 25, 2021 in

Riverside, California 92506 with a postage amount of $46.15. The

return address listed on the SUBJECT PARCEL is “R.D. Gallery

1330 Massachusetts Ave Riverside, ca 92507.”

            b.   SUBJECT PARCEL 2 is a USPS Priority Mail Express

parcel bearing tracking label number EJ769999594US, weighing

approximately 5 ounces postmarked on May 25, 2021 in Riverside,

California 92506 with a postage amount of $26.35.          The return

address listed for SUBJECT PARCEL 2 is “R.D. Gallery 1330

Massachusetts Ave Riverside, ca 92507.”        The recipient address

for SUBJECT PARCEL 2 is “Scott Land 822 N. Juanita Ave. Redondo

Beach, Ca 90277.”

      22.   SUBJECT PARCEL 3 is a USPS Priority Mail Express

parcel bearing tracking label number EJ769999625US, weighing

approximately 8 ounces, postmarked on May 27, 2021 in Riverside,

California 92506 with a postage amount of $26.35. The return

address listed for SUBJECT PARCEL 3 is “Shezi Rahil 14242


                                    xii
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 14 of 23 Page ID #:14



Crystal View Terr. Riverside, ca 92508.” The recipient address

for SUBJECT PARCEL 3 is “Jenah Moh- T Star fashion Store 2586

Steinway st. Astoria, NY 11103.”




                                   xiii
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 15 of 23 Page ID #:15




                               ATTACHMENT B

ITEMS TO BE SEIZED

      The following are to be seized from the parcels described

in Attachment A, which constitute evidence, fruits, and

instrumentalities of violations of 21 U.S.C. §§ 841(a)(1)

(Distribution and Possession with Intent to Distribute a

Controlled Substance) and 843(b) (Unlawful Use of a

Communication Facility, Including the Mails, to Facilitate the

Distribution of a Controlled Substance):

           a.    Any controlled substances, including marijuana;

           b.    Currency, money orders, bank checks, or similar

monetary instruments in quantities over $1,000; and

           c.    Parcel wrappings used to conceal items described

in (a) and/or (b).




                                    xiv
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 16 of 23 Page ID #:16




                         EXHIBIT 1
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 17 of 23 Page ID #:17




   Detective Kristina Winegar and k9 Roxy Expertise:
   I have attended a 120-hour course at Vohne Liche Kennels in narcotics
   detection. I attend this course with my K9 partner Roxy, a brown and
   white Springer Spaniel. K9 Roxy and I are a certified narcotics detection
   team through the California Narcotics Canine Association. We attend
   monthly maintenance training sponsored by Vohne Liche Kennels, weekly
   training with the Inland Empire Police Canine Association and Roxy and I
   train daily. Roxy has given a positive alert over 400 times in searches
   where illegal narcotics have been located and/or seized. I have written
   and served search warrants for narcotics transportation and sales,
   marijuana cultivation, stolen property, records/identity theft and other
   various criminal offenses. I have attended a 40-hour criminal interdiction
   conference in Austin Texas, a 40 hour criminal interdiction conference in
   New Orleans Louisiana, a 24 hours jetway interdiction course in Long
   Beach California, a 8 hour controlled delivery course, a 8 hours drug
   endangered children's course, a 16 hour reality based detection course
   with my K9 partner Roxy, a 80 hour Department of Justice
   methamphetamine clandestine lab safety course instructed by a state
   certified chemist. I participated in the live cook of methamphetamine, and
   an 80-hour training course with California Narcotics Canine Association.

   Additionally, I have received training in drug use, symptomatology, and
   recognition of narcotics. I have continued my education in areas of
   narcotic sales, trafficking, interdiction and possession, along with
   dangerous controlled substances including marijuana, methamphetamine,
   heroin, cocaine, psilocybin(mushrooms), MDMA (Ecstasy),
   PCP(phencyclidine), testosterone ester and anabolic steroids.

   I have worked as a full time certified K9 handler since July 10, 2014.
   Since successfully completing K9 handler training; Roxy is responsible for
   the seizure of over 3,089.77 pounds of marijuana, 23.45 pounds of
   cocaine, over 114 pounds of methamphetamine, 15.5 pounds of
   heroin, 24 pounds of concentrated cannabis, over 4,320 MDMA(Ecstasy)
   pills, 15 ounces of synthetic marijuana(spice), and over $1,059,844 in US
   currency.
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 18 of 23 Page ID #:18




          PROBABLE CAUSE STATEMENT #1 FOR ISSUANCE OF SEARCH
          WARRANT:

    On Wednesday May 26, 2021, I was assigned to work as a Task Force Officer with the
   Homeland Security Investigations Parcel Interdiction Task Force. During my course of
   duties, while conducting a parcel investigation at the USPS facility located on 5th St. in
   San Bernardino, a suspicious parcel was found. The shipper used and address in
   Riverside California that was used by several subjects, none being the shipper a RD
   Gallery. The shipper did not provide a contact number. I attempted to locate the recipient
   a Jimmy Montes in Orlando Florida. I located a Montes in Florida at the receiving
   address. Montes was found to have several arrests for possession of cannabis and
   possession of drug paraphernalia. The parcel was identified by USPS tracking # EJ 769
   999 603 US.

   Through my training and experience, I have found that narcotic traffickers will often use
   fictitious names, telephone numbers, addresses, pay cash for their shipment, and use
   different masking agents to hide the odor of narcotics from law enforcement K-9. These
   individuals also omit pertinent information and use third party shipping stores to
   disassociate themselves from the package to avoid detection by law enforcement.

   Based on these and other indicators, I ran my narcotics detection K9 in the direction of
   the parcel at the facility located near other like parcels. Upon reaching the parcel in
   question, Roxy gave a positive "alert" indicating the package and/or the contents was
   saturated with the odor of illegal narcotics. USPS tracking # EJ 769 999 603 US.
    identifies this parcel.


   KRISTINA WINEGAR B5848 SAN BERNARDINO COUNTY SHERIFFS
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 19 of 23 Page ID #:19




          PROBABLE CAUSE STATEMENT #2 FOR ISSUANCE OF SEARCH
          WARRANT:

    On Wednesday May 26, 2021, I was assigned to work as a Task Force Officer with the
   Homeland Security Investigations Parcel Interdiction Task Force. During my course of
   duties, while conducting a parcel investigation at the USPS facility located on 5th St. in
   San Bernardino, a suspicious parcel was found. The shipper used and address in
   Riverside California that was used by several subjects, none being the shipper a RD
   Gallery. The shipper did not provide a contact number. I attempted to locate the recipient
   a Scott Land in Redondo Beach, California There was no one matching that name at the
   address however, a person with the same name had an address in Newport Beach
   California. The parcel was identified by USPS tracking # EJ 769 999 594 US.

   Through my training and experience, I have found that narcotic traffickers will often use
   fictitious names, telephone numbers, addresses, pay cash for their shipment, and use
   different masking agents to hide the odor of narcotics from law enforcement K-9. These
   individuals also omit pertinent information and use third party shipping stores to
   disassociate themselves from the package to avoid detection by law enforcement.

   Based on these and other indicators, I ran my narcotics detection K9 in the direction of
   the parcel at the facility located near other like parcels. Upon reaching the parcel in
   question, Roxy gave a positive "alert" indicating the package and/or the contents was
   saturated with the odor of illegal narcotics. USPS tracking # EJ 769 999 594 US.
    identifies this parcel.


   KRISTINA WINEGAR B5848 SAN BERNARDINO COUNTY SHERIFFS
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 20 of 23 Page ID #:20




                        EXHIBIT 2
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 21 of 23 Page ID #:21
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 22 of 23 Page ID #:22
Case 5:21-mj-00380-DUTY Document 1 Filed 05/28/21 Page 23 of 23 Page ID #:23
